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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re:        Oil Spill by the Oil Rig         ]                     MDL No. 2179
              “Deepwater Horizon” in the       ]
              Gulf of Mexico, on April 20, 2010]                     SECTION: J
                                               ]
                                               ]                     Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                     Mag. Judge Wilkinson
                                               ]

                    SWORN DECLARATION OF MARSHAL SCOTT TEW

         Pursuant to 28 U. S. C. § 1746 Marshal Scott Tew declares the following:

         1.      “My name is Marshal Scott Tew. The facts contained in this declaration are

within my personal knowledge and are true and correct.

         2.      I worked for O’Brien’s Response Management, Inc. (O’Brien’s) from June 23,

2010 to December 13, 2010. O’Brien’s originally assigned me to work in Port St. Joe, Florida. I

was a beach supervisor. My duties were to assist O’Brien’s in the supervision of beach cleanup

crews used in the cleanup response to BP’s Deepwater Horizon oil spill in April 2010.

         3.      I was later deployed to other staging areas along the Gulf Coast including Mobile,

Alabama, Grand Isle, Louisiana and Pensacola, Florida. Supplies and equipment needed to clean

the spill were kept at staging sites where I worked. It was also my job to inventory equipment

and supplies, track where they were deployed, track when and where they were returned and

their condition.

         4.      When I worked on the beaches, it was also my responsibility to monitor where

personnel and equipment were being used and to verify that the segments of the beach assigned

to the cleanup crews were being cleaned properly.

         5.      My last position with O’Brien’s was as a tar-ball removal instructor in Pensacola,

Florida. I instructed and supervised beach cleanup crews on the correct procedure for removal of



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tar from the beaches. I also attended meetings to explain what we picked up or deployed each

day and the equipment we needed.

       6.       O’Brien’s classified me as an independent contractor from the beginning of my

employment on June 23, 2010 until December 13, 2010, when O’Brien’s demobilized me.

       7.       Many other workers worked for O’Brien’s performing the same duties I

performed and were also treated as independent contractors. I refer to these other workers as

“Spill Workers.”

       8.       Throughout my employment with O’Brien’s, O’Brien’s established my and the

other Spill Workers’ compensation, set our schedules, and directed our work through senior

command staff on a daily basis.

                                           Hours Worked

       9.       During my employment, the other Spill Workers and I typically worked seven

days per week. I went months without a day off.

       10.      The other Spill Workers and I were regularly scheduled to work twelve hour

shifts for O’Brien’s. However, our actual shifts were often longer than the regularly scheduled

twelve hours.

       11.      Accordingly, the other Spill Workers and I routinely worked many hours in

excess of forty in a week. Exhibit 1 is an example of one of my time sheets from September 27,

2010 to October 3, 2010. I worked twelve hours each of these days. See Exhibit 1.

                                             Pay

       12.      When O’Brien’s hired me and the other Spill Workers, we signed “Teaming

Agreements” that state we would be paid by the day. My agreement with O’Brien’s states I




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would be paid “$500 per day.” A true and correct copy of the agreement I signed with O’Brien’s

is attached as Exhibit 2.

       13.     Throughout my employment with O’Brien’s, I was paid $500 per day. This

amount did not increase if I worked more than my scheduled hours.

       14.     O’Brien’s did not pay me or the other Spill Workers overtime compensation for

hours we worked in excess of forty hours during the time O’Brien’s classified us as independent

contractors.

                                            Control

       15.     O’Brien’s had the authority to hire and fire me and other Spill Workers. I know

this because an O’Brien’s employee, hired me over the phone. Just before reporting to work in

Port St. Joe, another O’Brien’s employee sent me O’Brien’s hiring documents.

       16.     When I was hired, my supervisor in Port St. Joe, who was also employed by

O’Brien’s, told me how to do my job.

       17.     O’Brien’s supervised and controlled the performance of our work in all the

locations to which I was assigned. For example, O’Brien’s expected me to attend daily meetings

with senior command staff including O’Brien’s and BP personnel and federal, state and local

officials. When there were problems on the beaches, I would go to my O’Brien’s supervisor for

help if necessary.

       18.     I was required to track equipment and supplies. For instance, I tracked and

reported on the amount of boom being used, where it was used and its condition. I also reported

on the oil, tar and sand being removed from the beaches. O’Brien’s and command staff used

these reports to monitor our work and plan our assignments for the next day.




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        19.     O’Brien’s directed me to use electronic forms and electronic mail provided by

senior staff to report the information I was to track.

        20.     O’Brien’s required me and the other Spill Workers to scan our electronic badges

in and out upon each entry and departure from work sites and boats. These badges said

“O’Brien’s” on them. We were required to wear them around our necks so they would always be

visible to the guards at the facilities.

        21.     O’Brien’s required me and the other Spill Workers to obtain approval for time off.

It was approximately 60 days before I received a day off. I made these requests for time off

directly to my O’Brien’s supervisor, who approved them.

        22.     O’Brien’s required me and other Spill Workers to fill out time sheets reflecting

hours worked.

        23.     O’Brien’s required me and the other Spill Workers follow policies and procedures

that dictated who we reported to in the chain of command, how we recorded and reported our

time worked, how we behaved on job sites, what we were permitted to wear, how we performed

our work, what expenses we were allowed to claim for reimbursement, how we handled

documents, and that we submit to random drug and alcohol testing.

        24.     O’Brien’s set my and other Spill Workers’ working schedules on a weekly basis,

which typically required minimum shifts of 12 hours or longer. We were not allowed to set our

own schedules.

        25.     The Spill Workers and I were not allowed to hire employees to help us with our

work.




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       26.     O’Brien’s prohibited me and the other Spill Workers from working with any other

oil spill contractor while we were employed by O’Brien’s and for one year after our

employment. See Exhibit 2.

       27.     O’Brien’s classified me as in independent contractor throughout my entire

employment with them.

       28.     Just before I was let go, or “demobilized,” an O’Brien’s employee told me that I

was to report to demobilization. After being demobilized, I returned home because I no longer

had work or lodging in Pensacola.

                                            Investment

       29.     The other Spill Workers and I made little or no investment in working for

O’Brien’s. For example, O’Brien’s provided us with the equipment we used, including hard

hats, safety vests, safety glasses, shirts and hats. O’Brien’s typically reimbursed us for travel

expenses and mileage. O’Brien’s also provided facilities, including offices and lodging.

                                    Special Skill or Expertise

       30.     O’Brien’s did not require me and the other Spill Workers to possess specialized

qualifications, skill or former training prior to hire in order to perform our job duties. I never had

contact with O’Brien’s before I was hired and I received no formal training after being hired. I

found out about employment with O’Brien’s through a friend. Based on his recommendation,

O’Brien’s contacted me and I sent them my resume. After a short phone interview, O’Brien’s

offered me a job. Less than a week later, I was working for O’Brien’s in Port St. Joe.

       31.     The other Spill Workers and I did not receive significant official or formal

training to perform our jobs. Instead, we learned how to perform our duties on the job. For




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example, I learned on the job how to fill out report forms and what information I was required to

track about the cleanup equipment.

                                 Interest in a Collective Action

       32.     Based on my experience working with O’Brien’s and my communications with

other Spill Workers, I know other spill workers are interested in joining a collective action to

recover their unpaid overtime.

       33.     I declare under penalty of perjury that the foregoing is true and correct.”


Signed on July ____, 2012.


                                              ____________________________________
                                              Marshal Scott Tew




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NAME:          Scott Tew                                BILLING PERIOD: 9/27/2010- 10/03/2010

Paykey Code: ZKRAUMD252                                  Response: Deepwater Horizon
  Date          Start      End     Total                     Location/Activity

9/27/2010       0600       1800   12 Hrs   Grand Isle, LA. (Jefferson Parrish) Boom Removal
                                           Documentation Field Supervisor
9/28/2010       0600       1800   12 Hrs   Grand Isle, LA. (Jefferson Parrish) Boom Removal
                                           Documentation Field Supervisor
9/29/2010       0600       1800   12 Hrs   Grand Isle, LA. (Jefferson Parrish) Boom Removal
                                           Documentation Field Supervisor
9/30/2010       0600       1800   12 Hrs   Grand Isle, LA. (Jefferson Parrish) Boom Removal
                                           Documentation Field Supervisor
10/01/2010      0600       1800   12 Hrs   Grand Isle, LA. (Jefferson Parrish) Boom Removal
                                           Documentation Field Supervisor
10/02/2010      0600       1800   12 Hrs   Grand Isle, LA. (Jefferson Parrish) Boom Removal
                                           Documentation Field Supervisor
10/03/2010      0600       1800   12 Hrs   Grand Isle, LA. (Jefferson Parrish) Boom Removal
                                           Documentation Field Supervisor




                                                         10/03/2010
Scott Tew                                                Date

                                                                                 EXHIBIT 1
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                                                               EXHIBIT 2
